     Case 1:13-cr-00103-DAD-BAM Document 96 Filed 06/03/15 Page 1 of 2

                                                                              f(SPACE BELOW FOR FILING STAMP ONLY)

 1           ROGER D. WILSON SBN: 192207
            LAW OFFICE OF ROGER D. WILSON
 2                  2377 West Shaw Avenue, Suite 208
                         Fresno, California 93711
 3                     Telephone: (559) 233-4100
                        Facsimile: (559) 746-7200
                      Email: roger@wilson-law.com
 4

 5

 6   Attorney for Defendant, ALI MOSARAH

 7

 8

 9                                IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                       ******
11
     UNITED STATES OF AMERICA,                             Case No.: 1:13-CR-00103-AWI-BAM-002
12
                         Plaintiff,
13                                                         WAIVER OF APPEARANCE; ORDER.
               v.
14

15   ALI MOSARAH,

16                       Defendant.

17

18             TO THE UNITED STATES DISTRICT COURT; UNITED STATES

19             ATTORNEY’S OFFICE, BY AND THROUGH ITS REPRESENTATIVES:

20             Defendant ALI MOSARAH by and through his attorney, ROGER D. WILSON, hereby

21   applies to this Court for an Order waiving his appearance at the Status Conference currently

22   scheduled for June 8, 2015, at 1:00 p.m., before the Honorable Magistrate Judge Barbara A.

23   McAuliffe. This request is made because counsel for the codefendant Ms. Hweih who is

24   relatively new to this case will no doubt require additional time to review and analyze the

25   voluminous discovery (40 CD’s and 7,000 pages of documents) related to this matter in order

26   to explore a meaningful disposition of the case. Therefore, in all likelihood, a further status

27   hearing will be scheduled at the next hearing.

28   \\\\
     Case 1:13-cr-00103-DAD-BAM Document 96 Filed 06/03/15 Page 2 of 2


 1            Mr. Mosarah has maintained regular and routine contact with his counsel, and gives his

 2   counsel full authority to act on his behalf at the next hearing. Mr. Mosarah has discussed the

 3   upcoming Status Conference with counsel and is satisfied that all relevant matters have been

 4   adequately reviewed and explained.

 5            Lastly, Mr. Mosarah’s counsel has discussed this waiver of appearance with counsel for

 6   the Government, who had no objection.

 7            It is hereby requested that Defendant ALI MOSARAH’S appearance at the June 8,

 8   2015, Status Conference be excused.

 9            Respectfully submitted,
10   Dated:         June 2, 2015           By:                  /s/ Roger D. Wilson
11                                                            ROGER D. WILSON
                                                      Attorney for Defendant ALI MOSARAH
12
                                                  --o0o--
13
                                                 ORDER
14
              Defendant ALI MOSARAH’S request for a waiver of appearance came before this
15
     Court and based thereon, and for GOOD CAUSE shown, the COURT ORDERS AS
16
     FOLLOWS:
17
              Defendant ALI MOSARAH is hereby excused from appearing at the Status Conference
18
     currently scheduled June 8, 2015, at 1:00 p.m.
19

20   IT IS SO ORDERED.
21
        Dated:      June 3, 2015                             /s/ Barbara A. McAuliffe                 _
22
                                                       UNITED STATES MAGISTRATE JUDGE
23

24

25

26
27

28
